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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                     Case No. 1:19-cv-02443-RDM-ZMF

          v.

 JONES DAY, et al.,

      Defendants.



           JOINT STATUS REPORT REGARDING DISCOVERY SCHEDULE

       On April 22, 2022, the Court ordered the parties to file a joint status report regarding a

schedule for remaining discovery by April 28, 2022.        The parties, who have taken three

depositions, are working to schedule remaining depositions and discovery deadlines. The parties

propose to file a status report on May 5 further advising the Court regarding the schedule for

remaining discovery.
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Respectfully submitted,                                              April 28, 2022


 /s/ Julia Sheketoff                     /s/ Terri L. Chase
 Julia Sheketoff (pro se)                Terri L. Chase (pro hac vice)
 2207 Combes Street                      JONES DAY
 Urbana, IL 61801                        600 Brickell Avenue, Suite 3300
 (202) 567-7195                          Miami, Florida 33131
 sheketoff@gmail.com                     Phone: 305-714-9700
                                         Email: tlchase@jonesday.com
 /s/ Mark C. Savignac
 Mark C. Savignac (pro se)               Traci Lovitt (Bar No. 467222)
 2207 Combes Street                      JONES DAY
 Urbana, IL 61801                        250 Vesey Street
 (217) 714-3803                          New York, NY 10281
 marksavignac@gmail.com                  Phone: (212) 326-3939
                                         Email: tlovitt@jonesday.com
 Plaintiffs
                                         Christopher DiPompeo (Bar No. 1003503)
                                         JONES DAY
                                         51 Louisiana Avenue NW
                                         Washington, DC 20001
                                         Phone: (202) 879-3939
                                         Email: cdipompeo@jonesday.com

                                         Anderson T. Bailey (pro hac vice)
                                         JONES DAY
                                         500 Grant Street
                                         Pittsburgh, PA 15219
                                         Phone: (412) 391-3939
                                         Email: atbailey@jonesday.com

                                         Counsel for Defendants




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